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Wire FECA FECA Fraud/ O
1 _|Date |Campaign Contributor Address Donating Acct Amount Date ill IZ __ Wire Date to IZ Date Valid _ Crime Income in
2 | 4/17/12 Obama Victory 2012 Donor wire $20,000 $20,000 ind
- $40,000 4/25/12 SS
4 |Subtotal $40,000|.o
4/27/12 Howard Berman a 2 Amex iil (12) $5,000 IO
4/27/12 Howard Berman zz | x nit
[7 | 5/17/12 Obama Victory 2012 — USCHMM(1z/az) $35,000 $136,500 5/1/12 Ss
| 8 | 5/18/12 Obama Victory 2012 <i EI Monte, CA Amex (12) $25,000 >
| § | 5/22/12 Obama Victory 2012 Willa Rao El Monte, CA Amex MB (2) $25,000 5/22/12 z
| 10| 5/23/12 Obama Victory 2012___Willla Rao El Monte, CA Amex ('2) $10,000 5/24/12 :
11 |Subtoral : $100,000 $100,000 $36,600
| 12 | $71,600 6/11/12 U
13 [Subtotal $71,600
14| 9/30/12 Obama Victory 2012 Donor CCl $1,000 $1,000
15| 9/27/12 Obama Victory 2012 Asifa Zuberi El Monte, CA Amex $25,000 9/27/12] $90,000 9/26/12 5
1 16| 9/27/12 Obama Victory 2012 —_Asifa Zuberi El Monte, CA Chase Ml ('2) $10,000 9/27/12 =
| 17| 9/27/12 Obama Victory 2012 Asifa Zuberi Chase Mj (2) -§10,000 -
| 18| 9/27/12 Obama Victory 2012 Asifa Zuberi El Monte, CA Chase Ml (12) $5,000 9/27/12 =
| 19 | 9/27/12 Bob Casey for Senate Willa Rao El Monte, CA Chase Wl (12) $2,500 i
| 20] 9/30/12 Obama Victory 2012 [i == usc (12/Az) $19,000 Ss
21| 9/30/12 Obama Victory 2012 [xD SEI Monte, CA usc (12/Az) $25,000 —}
| 22| 10/4/12 Bob Casey forSenate —_Imaad Zuberi El Monte, CA Amex I (2) $2,500 Ol
| 23 | 10/4/12 Bob Casey for Senate Imaad Zuberi Amex QE (/) -$2,500 + %
| 24| 10/3/42 Obama Victory 2012 aa zz usc (12/4z) $20,000 $180,000 10/1/12] $180,000 10/10/12 Ee mT
| 25] 10/3/12 Obama Victory 2012 | e— (IZ/AZ) $20,000 > >
26 Subtotal $116,500] $116,500 $116,500 __ $154,500
27 $100,000 10/21/12 0
28 |Subtotal $100,000 | *
| 29 | 12/27/42 Presidential Inaugural Imaad Zuberi Amex@M (2) $62,500 $100,000 11/12/12
| 30 | 12/28/12 Presidential Inaugural tmaad Zuberi Amex (z) $62,500 $500,000 12/10/12 Tl
31| 1/2/13 Presidential Inaugural — [maad Zuberi Amex (1) $62,500 D
32 | 1/8/13 Presidential Inaugural Imaad Zuberi Amex Qi (12) -$62,500 E
| 33] 1/9/13 Presidential Inaugural = Imaad Zuberi Amex (2) $35,000 a)
| 34] 1/15/13 Presidential Inaugural —_ Imaad Zuberi Amex (2) $35,000 $150,000 1/14/13] $150,000 Sj
| 35| 1/30/13 Presidential Inaugural —_Imaad Zuberi Amex ((2) $408 $100,000 2/27/13] $100,000 ial
36| 4/8/13 Presidential Inaugural = Imaad Zuberi Amex ((Z) -$62,500 Nn
—— —-
| 37 | 4/8/13 Presidential Inaugurel Imaad Zuberi Amex Mi ((Z) -$35,000
38 [Subtotal $97,908 $97,908 $752,0927y
[39| 4/22/43 Bob Casey for Senate [i EI Monte, CA Amex (WRZ) «$5,200 $5,000 4/30/13 b
| 40} 4/22/13 Bob Casey for Senate PY El Monte, CA ry 3
| 41| 4/22/13 Bob CaseyforSenate [i El Monte, CA Amex (w2) $5,200 S
| 42 | 4/22/13 Bob Casey for Senate El Monte, CA s
43 [Subtotal $10,400] $10,400 $10,400 =55,400]
oy
| 44} 5/31/13 Engel for Congress =a: S El Monte, CA Amex Mil (IZ) $5,200
| 45 | 5/31/13 Engel for Congress | S El Monte, CA - 1
| 46 | 5/34/13 Engel for Congress | S El Monte, CA Amex (12) $5,200 "
47 | 5/31/13 Engel for Congress | S El Monte, CA # 4

 
3/3/15 Lindsey Graham 2016

4/14/15 Hillary for America
4/14/15 Hillary for America
4/19/15 Hillary for America
4/19/15 Hillary for America
5/5/15 Hillary for America
for America

10/22/15 Clinton Fund

9/28/36
9/28/16 Team Graham Inc
9/28/16 Team Graham Inc
9/28/16 Team Graham Inc
9/28/15 Team Graham Inc
9/28/16 Team Graham Inc

Valid FECA
FECA Violation
FECA Violation
Subtotals

Case 2:19-cr-00642-VAP Document 321-10 Filed 02/10/21

Imaad Zuberi

Contributor

$2,700] Donor
$2,700} "

$2, a

”

cc

El Monte, CA

Address

$100,000 10/26/15] $100,200 2/11/16

$5,400
$5,400
$5,400

Amount (Date Wire Date

Wire Date

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IZ

Wire
Date

FECA
Valid

FECA
Crime

Fraud/
Income

 

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Comments
Valid, direct contribution

 

 

 

   

 

 

16 |Fraud, credited same day

19 |Thank you tC at 12 email re $5k on 9/27

 

Fraud, credited same day

 

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contributor

Foreign contributor; refunded by Hillary campaign

contributor

CSTT-# Cl
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